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 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-210 JAM
12                                 Plaintiff,            STIPULATION REGARDING CONTINUING
                                                         SENTENCING OF VANIK ATOYAN; FINDINGS
13                          v.                           AND ORDER
14   VERA KUZMENKO, ET AL.,                              DATE: January 19, 2016
                                                         TIME: 9:15 a.m.
15                                Defendants.            COURT: Hon. John A. Mendez
16

17                                               STIPULATION
            1.      By previous order, this matter was set for sentencing on May 3, 2016.
18
            2.      By this stipulation, defendants now move to continue the sentencing until June 7, 2016 at
19

20 9:15 a.m.

21          3.      All parties agree and stipulate, and request that the Court find the following:
22 Defendant has not yet been interviewed and Probation needs additional time to complete the PSR. The

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     schedule for the disclosure of the PSRs, the parties’ responses and the sentencing is the following:
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      STIPULATION RE: SENTENCING; [PROPOSED] FINDINGS     1
      AND ORDER
             Case 2:11-cr-00210-DAD Document 825 Filed 03/30/16 Page 2 of 3
       Date of Referral to Probation Officer:       January 15, 2016

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       Judgment and Sentencing Date:                              June 7, 2016 at 9:15 a.m.
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3      Reply, or Statement of Non-Opposition:                     May 31, 2016
                                                                  (1 week before sentencing)
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       Motion for Correction of the Presentence Report Shall be May 24, 2016
5      Filed with the Court and Served on the Probation Officer (2 weeks before sentencing)
       and Opposing Counsel no Later Than:
6
       The Pre-Sentence Report Shall be Filed with the Court      May 17, 2016
7      and Disclosed to Counsel no Later Than:                    (3 weeks before sentencing)
       Counsel’s Written Objections to the Presentence Report May 10, 2016
8      Shall be Delivered to the Probation Officer and Opposing (4 weeks before sentencing)
       Counsel no Later Than:
9      The Proposed Presentence Report Shall be Disclosed to April 26, 2016
       Counsel no Later Than:                                   (6 weeks before sentencing)
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12         IT IS SO STIPULATED.
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     Dated: March 29, 2016                                  BENJAMIN B. WAGNER
14                                                          United States Attorney
15
                                                            /s/ LEE S. BICKLEY
16                                                          LEE S. BICKLEY
                                                            Assistant United States Attorney
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19
     Dated: March 29, 2016                                  /s/ GARY A. TALESFORE
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                                                            GARY A. TALESFORE
21                                                          Counsel for Defendant
                                                            VANIK ATOYAN
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      STIPULATION RE: SENTENCING; [PROPOSED] FINDINGS   2
      AND ORDER
            Case 2:11-cr-00210-DAD Document 825 Filed 03/30/16 Page 3 of 3


1                                          FINDINGS AND ORDER

2         IT IS SO FOUND AND ORDERED this 30th day of March, 2016.

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                                                       /s/ John A. Mendez
5                                                      THE HONORABLE JOHN A. MENDEZ
                                                       UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION RE: SENTENCING; [PROPOSED] FINDINGS     3
     AND ORDER
